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                              CERTIFICATE OF SERVICE

       I, WILLIAM L. SHIPLEY, JR., hereby certify that I electronically filed DEFENDANT

RONALD MCABEE’S REPLY TO OPPOSITION TO MOTION FOR

RECONSIDERATION OF DETENTION ORDER with the United States District Court for

the District of Columbia by using the CM/ECF system on June 6, 2022, and served the

following Counsel on behalf of the Plaintiff UNITED STATES via CM/ECF case filing system:

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DATED: June 6, 2022, at Kailua, Hawaii.
                                                 /s/ William L. Shipley
                                                 William L. Shipley
